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                    UNITED STATES DISTRICT COURT
                     DISTRICT OF MASSACHUSETTS


IN RE NEURONTIN MARKETING, SALES            MDL No. 1629
PRACTICES, AND PRODUCTS LIABILITY
LITIGATION                                  Master File No. 04-10981


THIS DOCUMENT RELATES TO:                   Judge Patti B. Saris

ALL SALES & MARKETING ACTIONS               Magistrate Judge Leo T. Sorokin



   MOTION FOR ORAL ARGUMENT ON CLASS PLAINTIFFS’ MOTION FOR
RECONSIDERATION AND LEAVE TO FILE CLASS PLAINTIFFS’ MEMORANDUM
                 REGARDING GUARDIAN RULING




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        Plaintiffs Louisiana Health Service Indemnity Company d/b/a/ BlueCross/BlueShield of

Louisiana, Union of Operating Engineers, Local No. 68 Welfare Fund, ASEA/AFSCME Local

52 Health Benefits Trust, and Harden Manufacturing Corporation (collectively, “Class

Plaintiffs”), on behalf of themselves and the proposed class, (i) seek leave to file the attached

Memorandum Regarding Guardian Ruling In Connection With Class Plaintiffs’ Motion For

Reconsideration Of Order Denying Renewed Motion For Class Certification, (ii) request a

hearing on the pending reconsideration motion, and (iii) request that the Court reserve deciding

the motion until after the conclusion of the trial of Kaiser’s claims in the related case scheduled

for trial on February 22, 2009.

       Since the Fall of last year, the landscape has changed materially in connection with this

Court’s position on aggregate proof. The decision of this court in Guardian Life Ins. Co. of

America v. Pfizer (In re Neurontin Mktg. & Sales Practices Litig.), 2010 U.S. Dist. LEXIS 1756,

*84 (D. Mass. Jan. 8, 2010) (“Guardian”) raises new issues of law citing new legal authorities

which have not previously been addressed by the Class Plaintiffs. Accordingly, Class Plaintiffs

hereby request an opportunity to address these issues, as well as Defendant’s recent Notice of

Supplemental Authority, through leave to file the attached brief and oral argument.

       Plaintiffs also request that the Court refrain from determining Plaintiffs’ reconsideration

motion until after the conclusion of the Kaiser trial. First, given the short ten-day window within

which parties must appeal to the First Circuit from a final decision entered in this Court, the

parties would be prejudiced if they had to brief appellate issues while actively engaged in the

trial of a related matter. Second, in October of 2009, this Court indicated that it may find the

Kaiser trial elucidating, and further stated its willingness to consider additional hearings on

Plaintiffs’ motions for reconsideration of the denial of class certification. See October 15, 2009




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Hearing Transcript (“Tr.”) at 6:20 – 7:10 (stating in part, “I’m wondering whether I actually need

an evidentiary hearing …”); Tr. at 59:9 – 10 (“I’m likely to do some sort of an expert hearing at

some point on this….”); Tr. at 59: 12-16 (indicating the Court may want to have an opportunity

for an evidentiary hearing of see how the Kaiser case goes). Plaintiffs therefore respectfully

request that the Court reserve its decision on Plaintiffs’ reconsideration motion until after the

Kaiser trial has been concluded.




Dated: February 8, 2010                                 Respectfully Submitted,

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                               CERTIFICATE OF SERVICE

       I hereby certify that this document filed through the ECF system has been served
pursuant to Case Management #3 on February 8, 2010.


                                                     /s/ Thomas M. Sobol




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